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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 NORFOLK DIVISION

  THE COLEMAN COMPANY, INC.,                     §
                                                 §
  Plaintiff/Counterclaim Defendant,              §
                                                 §
         v.                                      §
                                                           Civil Action No. 2:20-cv-351-RGD
                                                 §
  TEAM WORLDWIDE CORPORATION,                    §
                                                           JURY TRIAL DEMANDED
                                                 §
  Defendant/Counterclaim Plaintiff,              §
                                                 §
  and                                            §
                                                 §
  CHENG-CHUNG WANG,                              §
                                                 §
  Counterclaim Plaintiff.                        §


           TEAM WORLDWIDE CORPORATION’S REPLY IN SUPPORT OF MOTION
              FOR LEAVE FOR SUPPLEMENTAL EXPERT DISCOVERY

         Defendant Team Worldwide Corporation (“TWW”), by and through its undersigned

  counsel, submits the following as its Reply in Support of TWW’s Motion for Leave for

  Supplemental Expert Discovery (ECF No. 244).

         The Court’s recent construction of the claim term “coil” for Coleman’s ’618 Patent

  provides good cause to grant TWW’s request for a limited supplement to its invalidity expert

  report. Numerous courts permit amending invalidity positions following the court construing a

  claim term, particularly where the court’s construction is different than that proposed by the party

  seeking amendment. In addition, TWW is only proposing to amend its existing grounds to account

  for the new construction and to include one additional prior art reference. This prior art reference

  was identified by TWW in discovery, cited during prosecution of the ’618 Patent, and is now

  particularly relevant to invalidity in light of the Court’s construction of “coil.” TWW’s expert




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  should be allowed to clarify his invalidity opinions with respect to the Court’s new construction

  of “coil.”

          Coleman’s opposition to TWW’s Motion (ECF No. 255) fails for at least three reasons.

  First, Coleman would suffer no prejudice from TWW’s supplemental expert report. Trial is more

  than four months away, and Coleman is familiar with the only additional prior art reference TWW

  proposes to include in its supplement. Second, TWW was diligent in seeking to supplement its

  invalidity expert report, as it moved promptly after the Court issued its construction of “coil.”

  Third, Coleman’s attempt to argue that a new construction does not warrant a party supplementing

  its invalidity positions fails, as this position is inconsistent with practices in many courts and

  Coleman’s cited cases for its position are unavailing and outdated.

          TWW respectfully requests the Court grant TWW’s Motion (ECF No. 244) and enter an

  order permitting limited supplemental expert discovery consistent with the proposal in TWW”s

  Motion.

  I.      Coleman is Not Prejudiced by TWW Supplementing its Invalidity Expert Report.

          Coleman is not prejudiced in any way by TWW’s proposed supplementation of its

  invalidity expert report on Coleman’s ’618 Patent to clarify the expert’s opinions relating to the

  Court’s recent construction of the claim term “coil.” In its Opposition, Coleman argues, without

  support, that this supplement “would cause severe prejudice to Coleman and waste judicial

  resources.” Opp. at 1. But trial is more than four months away and the limited supplementation of

  its invalidity report proposed by TWW would only require a few weeks to accomplish. Moreover,

  TWW is not proposing any additional summary judgment briefing, so the impact on the Court is

  limited to resolving TWW’s instant motion. Coleman does not provide specifics in its Opposition

  as to how it would be prejudiced because no such prejudice would exist.




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            Coleman also cannot claim prejudice based on the substance of TWW’s proposed

  invalidity expert report supplementation. TWW is proposing to add only one prior art reference

  not previously included as a basis for invalidity – U.S. Patent Appl. 2003/0188388, to Boso et al.

  (“Boso ’388”). 1 Coleman is familiar with this reference as it was cited in the prosecution history

  for Coleman’s ’618 Patent and was identified by TWW during discovery. In fact, in construing the

  term “coil,” the Court referenced that the Examiner during prosecution of the ’618 Patent found

  that Boso ’388 disclosed the claimed “coils.” See ECF No. 232 at 10. As such, Coleman cannot be

  prejudiced by TWW’s incorporation of the Boso’388 reference in TWW’s invalidity expert report.

            Coleman also argues that the fact that the additional prior art reference was already known

  in the litigation weighs against supplementing TWW’s invalidity expert report. See Opp. at 6. But

  under the interpretation of “coil” originally used by TWW’s expert, the Boso ’388 reference was

  not particularly relevant to TWW’s invalidity grounds. Its inclusion in TWW’s original invalidity

  expert report would have been, at best, cumulative of other prior art references used in the report.

  In light of the Court’s February 4, 2022, construction for “coil,” the Boso ’388 reference is now

  particularly relevant to invalidity as the Court recognized in its order. See ECF No. 232 at 10.

            If there is any prejudice here it would be to TWW by not permitting it to supplement its

  invalidity expert report regarding the Court’s construction of “coil.” The Court should permit

  TWW’s expert to clarify his invalidity opinions with respect to the Court’s recent construction of

  “coil.”




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           TWW also intends to amend a few of its existing grounds for invalidity in its expert report,
  without adding new references, to account for the Court’s construction of “coil.”


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  II.    TWW Was Diligent in Seeking to Supplement Expert Discovery.

         TWW was diligent in seeking to supplement its invalidity expert report as TWW brought

  the instant motion shortly after the Court construed the claim term “coil.” Coleman claims that

  TWW should have sought construction of “coil” in August 2021 when Coleman’s experts

  presenting conflicting interpretations of the term “coil.” But it was Coleman that had a conflict

  regarding the interpretation of “coil.” As discussed in TWW’s summary judgment motion,

  Coleman’s invalidity and infringement experts used two different interpretations of the term “coil.”

  See ECF No. 171 at 12-13. Thus, if it was incumbent on any party to seek a construction of “coil,”

  then Coleman was the party that did not have a clear understanding of the term and should have

  sought construction from the Court. In its expert reports, TWW applied a consistent interpretation

  of “coil” for both invalidity and noninfringement – unlike Coleman – and had no reason to seek a

  specific construction for “coil.”

         In an attempt to support its argument that TWW was not diligent in seeking to supplement

  expert discovery, Coleman cites several cases – all of which are unavailing. Coleman cites to MASS

  Engineered to argue TWW does not have good cause because it “withheld invalidity positions.”

  MASS Engineered Design, Inc. v. Ergotron, Inc., 250 F.R.D. 284, 286 (E.D. Tex. 2008). But the

  facts in MASS Engineered are easily distinguishable from the instant case. In MASS Engineered, a

  party sought to amend its answer and serve invalidity contentions after not identifying invalidity

  as a defense and failing to serve invalidity contentions by the Court’s deadline. Id. Additionally,

  the court noted that it adopted all of one party’s proposed constructions, without major

  modification, and that it was “not a situation where the Court issued constructions that greatly

  differed from what the parties proposed.” Id. Here, TWW complied with all Court deadlines and




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  did not withhold any invalidity positions. TWW provided its invalidity positions in accordance

  with the Court’s schedule based on its interpretation of a then-unconstrued claim term.

         Coleman also cites Walsh asserting that TWW made a tactical decision to not seek

  construction of “coil.” Walsh v. WAVY Broad., LLC, No. 2:11-CV-174, 2012 WL 703367, at *2

  (E.D. Va. Mar. 5, 2012). Again, the facts in Walsh are completely unlike the instant case. In Walsh,

  a party attempted to add new witnesses after the deadline for disclosing witnesses for trial, even

  though the proposed witness was mentioned throughout interrogatories and depositions, in part

  because it assumed the other party would identify the individuals as witnesses. Id. Here, TWW did

  not withhold any invalidity positions but provided invalidity grounds based on its interpretation of

  the term “coil.” TWW only seeks to supplement its invalidity expert report in response to the

  Court’s recent construction of “coil” – not because of any “tactical decision” by TWW.

         For its unsupported theory that TWW allegedly withheld its arguments about the meaning

  of “coils,” Coleman cites two cases both of which are dissimilar to the instant case. In Marlowe, a

  party was seeking to re-open fact discovery based on new counsel on the case – facts which have

  no relation to this case. Marlowe Pat. Holdings LLC v. Dice Elecs., LLC, 293 F.R.D. 688, 701

  (D.N.J. 2013). In Rexnord, a party sought to amend its complaint after a summary judgment ruling

  even though the party was aware of the information prior to the deadline to amend pleadings.

  Rexnord Indus., LLC v. Bigge Power Constructors, 947 F. Supp. 2d 951, 961–62 (E.D. Wis. 2013).

  TWW is seeking only to supplement its expert discovery based on a new construction – not amend

  its pleadings or file an additional summary judgment motion.

  III.   A Claim Construction That Was Not Proposed by Either Party is Good Cause To
         Supplement Expert Discovery.

         The Court’s recent construction of “coil” in Coleman’s ’618 Patent constitutes good cause

  for TWW to supplement its invalidity expert report. The Court requested that the parties submit



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  briefing and proposed constructions for the term “coil.” See ECF No. 214 at 2. The parties

  submitted very different proposed constructions. The Court ultimately adopted neither parties’

  proposal, providing a different construction for “coil.” See ECF No. 232 at 10. Courts have held

  that a new construction, particularly a construction not proposed by any party, provides good cause

  for amendment of a party’s position. See Cell & Network Selection LLC v. AT&T Inc., No. 6:13-

  CV-403, 2014 U.S. Dist. LEXIS 185020, 2014 WL 10727108, at *5, n.2-3 (E.D. Tex. Nov. 10,

  2014) (allowing plaintiff to amend infringement contentions after the court’s claim

  construction order where the court's construction for one term was different from both parties’

  proposals); see also Johns Hopkins University v. CellPro, Inc., 152 F.3d 1342, 1357 (Fed. Cir.

  1998) (holding that a court’s claim construction may provide a basis for a defendant to cite

  additional invalidating art when the claim construction ‘change[s] the rules of the game’”).

         Permitting a party to supplement its invalidity grounds following claim construction is

  routinely allowed. Although this Court does not have specific patent rules, other districts have

  local patent rules that allow for a claim construction determination to be good cause for

  supplementation. In fact, the local patent rules for both the Northern District of California and

  District of Massachusetts specifically permit the amendment of invalidity positions when a claim

  construction by the court is different from that proposed by the party seeking amendment. See U.S.

  District Court for the Northern District of California Patent L.R. 3-6 (“Non-exhaustive examples

  of circumstances that may, absent undue prejudice to the non-moving party, support a finding

  of good cause include: (a) A claim construction by the Court different from that proposed by the

  party seeking amendment….”); U.S. District Court for the District of Massachusetts L.R.

  16.6(d)(5) (“Non-exhaustive examples of circumstances that may, absent undue prejudice to the

  non-moving party, support a finding of good cause include: (A) a claim construction by the court




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  that is different from that proposed by the party seeking amendment within 28 days of the court’s

  claim construction ruling….”).

         In arguing against supplementing expert reports in response to a new construction,

  Coleman states that TWW was aware of Coleman’s interpretation of “coil” “during expert

  discovery.” See Opp. at 6. But the term “coil” was never discussed during claim construction and

  TWW was not aware of Coleman’s interpretation of “coils” until after TWW had provided its

  expert report setting forth TWW’s grounds of invalidity for the ’618 Patent.

         Coleman relies on Fisher & Paykel, a Central District of California case, for its argument

  that the Court’s construction of coil in its summary judgment order does not provide good cause

  for TWW to supplement its expert discovery. But again, the facts in Fisher & Paykel are distinct

  from the instant case. In Fisher & Paykel, the defendant sought an additional summary judgment

  motion after the court construed in a summary judgment order a term using the plaintiff’s proposed

  construction. Fisher & Paykel Healthcare Ltd. v. Flexicare Inc., No. SACV19835JVSDFMX,

  2021 WL 5994968, at *2-4 (C.D. Cal. Sept. 16, 2021). But the defendant never addressed the

  construction of the term in briefing and there was substantial evidence in the record that the

  defendant was aware of the plaintiff’s construction throughout the litigation. Id. In this case, TWW

  only seeks to supplement its expert report and not burden the Court with additional summary

  judgment briefing. Moreover, unlike the defendant in Fisher & Paykel, TWW did address its

  interpretation of “coil” in its expert reports and summary judgment briefing. Also, TWW was not

  aware of Coleman’s interpretation of “coil,” much less the Court’s construction, until after TWW

  had set forth its invalidity grounds in TWW’s expert report.

         Coleman also relies on a Northern District of California case, Atmel, for its position that

  the Court’s recent claim construction is not “new information” warranting supplementing TWW’s




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  invalidity expert report. See Opp. at 6; Atmel Corp. v. Info. Storage Devices Inc., No. C 95-1987

  FMS, 1998 WL 775115, at *2 (N.D. Cal. Nov. 5, 1998). In the 1998 Atmel decision, the court cited

  “Local Rule 16-9(c)” and stated that the court’s claim construction is not “new information” under

  this rule to permit amending claim charts. Id. However, this local rule no longer exists. The

  amendment of claim charts in the Northern District of California is now governed by that court’s

  local patent rules. As noted above, the Northern District of California now states good cause exists

  for amending invalidity positions when the court provides a construction different than that

  proposed by the party seeking an amendment. See U.S. District Court for the Northern District of

  California Patent L.R. 3-6.

  IV.    Conclusion

         For at least the foregoing reasons and the reasons stated in TWW’s Motion, TWW

  respectfully requests that the Court permit TWW to supplement its invalidity expert report and

  enter an order for additional expert discovery consistent with the proposal in TWW’s Motion (ECF

  No. 244).




         Dated: March 8, 2022                        Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

           I hereby certify that I electronically filed the foregoing on March 8, 2022 with the Clerk

  of Court using the CM/ECF system, which will send a notification of such filing to all registered

  users.

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